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                                       IN THE
                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



ZENON GRZEGORCZYK,              )
                 Plaintiff,     )
                                )                                   No. _____ CV ______
          V.                    )
                                )
S.M. KUTKA, WARDEN,             )                                   PETITION AT LAW AND JURY
OFFICER ART,                    )                                   DEMAND
LIEUTENANT P. BARBER            )
LIEUTENANT BURNING,             )
COUNSELOR BLISSET,              )
JASON DANA,                     )
OFFICER CZABURA,                )
LIEUTENANT MICHAEL REUSCH. )
CAPTAIN ANTONIO SALAS,          )
UNKNOWN MEMEBERS OF             )
PSYCHOLOGY STAFF,               )
UNKNOWN EMPLOYEES OF            )
BUREAU OF PRISIONS,             )
PAUL M. LAIRD, REGIONAL         )
DIRECTOR, BUREAU OF PRISONS, )
                    Defendants. )


        COMPLAINT	  FOR	  DAMAGES,	  DECLARTORY	  JUDGMENT,	  AND	  INJUNCTIVE	  RELIEF	  
                                                     	  
	       NOW	  COMES	  Plaintiff	  ZENON	  GRZEGORCZYK,	  by	  his	  attorney	  Andréa	  E.	  Gambino,	  

and	  for	  his	  complaint	  against	  WARDEN	  KUTKA,	  OFFICER	  SIMPSON,	  LIEUTENANT	  P.	  

BARBER,	  COUNSELOR	  BLISSET,	  OFFICER	  ART,	  CAPTAIN	  SALAS,	  LIEUTENANT	  MICHAEL	  

REUSCH,	  OFFICER	  OZABURA,	  DR.	  DANA,	  UNKNOWN	  PSYCHOLOGY	  STAFF	  MEMBERS,	  AND	  

OTHER	  UNKNOWN	  EMPLOYEES	  of	  the	  BUREAU	  OF	  PRISONS,	  employed	  at	  the	  

Metropolitan	  Correctional	  Center,	  beginning	  in	  December	  2013,	  alleges	  the	  following:	  

	  


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                                                     INTRODUCTION	  
                                                                   	  
(1)	      This	  complaint	  is	  brought	  pursuant	  to	  Bivens	  v.	  	  Six	  Unknown	  Named	  Agents	  of	  Fed.	  

Bureau	  of	  Narcotics,	  403	  U.S.	  388	  (1971),	  to	  redress	  the	  deprivation	  under	  the	  color	  of	  law	  

of	  Mr.	  Grzegorczyk’s	  Due	  Process	  rights	  as	  secured	  by	  the	  United	  States	  Constitution.	  

(2)	      Beginning	  on	  or	  about	  December	  17,	  2013,	  Mr.	  Grzegorczyk,	  who	  was	  at	  all	  times	  

relevant	  to	  this	  complaint	  a	  pre-­‐trial	  detainee	  at	  the	  Metropolitan	  Correctional	  Center,	  was	  

placed	  in	  administrative	  detention	  without	  notice	  of	  the	  reason	  for	  his	  placement,	  or	  a	  

hearing	  at	  which	  he	  would	  be	  informed	  of	  the	  allegations	  against	  him	  and	  provided	  with	  an	  

opportunity	  to	  respond	  to	  any	  such	  allegations,	  in	  violation	  of	  Bureau	  of	  Prisons	  policies	  

and	  procedures,	  and	  in	  violation	  of	  Mr.	  Grzegorczyk’s	  right	  to	  Due	  Process	  protected	  by	  the	  

United	  States	  Constitution.	  

(3)	      Shortly	  after	  placement	  in	  segregation	  Mr.	  Grzegorczyk	  was	  assigned	  a	  cellmate,	  

Bobby	  Everson,	  Reg.	  No.	  14009-­‐052,	  who	  Defendants	  and	  UNKNOWN	  EMPLOYEES	  of	  the	  

Bureau	  of	  Prisons	  knew	  was	  sent	  to	  the	  Metropolitan	  Correctional	  Center	  from	  another	  

District	  to	  undergo	  a	  competency	  examination.	  	  Defendants	  and	  UNKNOWN	  EMPLOYEES	  of	  

the	  Bureau	  of	  Prisons	  also	  knew	  that	  	  Mr.	  Everson	  was	  charged	  with	  illegal	  possession	  of	  a	  

firearm	  by	  a	  felon,	  and	  had	  a	  criminal	  history	  that	  included	  at	  least	  one	  federal	  conviction	  

for	  conduct	  that	  included	  acts	  of	  violence	  against	  others.	  

(4)	      Mr.	  Everson	  made	  inappropriate	  comments	  of	  a	  sexual	  nature	  about	  Mr.	  

Grzegorczyk,	  following	  which	  Mr.	  Grzegroczyk	  attempted	  to	  get	  help	  from	  Defendants,	  both	  

known	  and	  unknown.	  	  Defendants	  ignored	  Mr.	  Grzegorczyk’s	  calls	  for	  help.	  	  Mr.	  Everson	  




	                                                                    2	  
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took	  his	  clothes	  off	  and	  lunged	  for	  Mr.	  Grzegorczyk,	  grabbing	  his	  testicles,	  sexually	  

assaulting	  Mr.	  Grzegorczyk.	  Mr.	  Gzegorczyk	  was	  injured	  in	  the	  course	  of	  defending	  himself.	  

(5)	       Defendants,	  both	  known	  and	  unknown,	  eventually	  came	  to	  the	  cell	  and	  used	  mace	  

and	  violence	  against	  both	  Mr.	  Everson	  and	  Mr.	  Grzegorczyk.	  	  Mr.	  Grzegorczyk	  suffered	  pain	  

and	  injury	  to	  one	  side	  of	  his	  face.	  

(6)	       Mr.	  Grzegorczyk	  asked	  Defendants	  Simpson,	  Barber,	  Blisset,	  Art,	  Salas,	  Reusch,	  

Czabura,	  Dr.	  Dana,	  Warden	  Kutka,	  and	  unknown	  staff	  members	  from	  the	  psychology	  

department	  for	  medical	  and	  psychological	  attention	  following	  that	  attack,	  but	  he	  was	  

neither	  evaluated	  nor	  treated	  for	  the	  emotional	  harm	  he	  suffered,	  apart	  from	  intermittent	  

conversations	  with	  Jason	  Dana.	  

(7)	       Defendant	  BURNING	  asked	  Mr.	  Grzegorczyk	  to	  sign	  a	  report	  that	  stated	  there	  was	  no	  

evidence	  of	  any	  such	  sexual	  assault	  having	  taken	  place,	  in	  violation	  of	  Mr.	  Grzegroczyk’s	  

right	  to	  Due	  Process	  and	  equal	  protection	  of	  the	  law,	  and	  his	  right	  to	  be	  protected	  from	  

harm	  and	  cruel	  and	  unusual	  punishment	  while	  in	  pre-­‐trial	  detention.	  

(8)	       PLAINTIFF	  GRZEGORCZYK	  continues	  to	  suffer	  from	  flashbacks,	  nightmares,	  

hypervigilance,	  and	  other	  emotional	  distress	  as	  a	  result	  of	  being	  placed	  in	  segregation	  

without	  being	  told	  why,	  and	  suffering	  the	  assault	  and	  the	  manner	  in	  which	  DEFENDANTS	  

failed	  to	  protect	  him	  from	  sexual	  assault,	  failed	  to	  provide	  psychiatric	  or	  psychological	  

evaluation	  and	  treatment	  to	  help	  him	  recover	  from	  the	  assault,	  and	  failed	  to	  provide	  any	  

redress	  whatsoever	  for	  this	  violation	  of	  his	  right	  to	  substantive	  Due	  Process	  and	  to	  be	  free	  

from	  torture	  as	  a	  condition	  of	  his	  confinement.	  

	  

	  



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                                                    JURISDICTION	  AND	  VENUE	  

(9)	      This	  action	  is	  brought	  for	  violation	  of	  the	  laws	  of	  the	  United	  States	  and	  the	  State	  of	  

Illinois,	  and	  this	  Court	  has	  jurisdiction	  under	  Title	  28,	  United	  States	  Code,	  Sections	  1331	  

and	  1343(a)(3)	  and	  1367.	  

	  (10)	   Venue	  is	  proper	  pursuant	  to	  Title	  28,	  United	  States	  Code,	  Section	  1391(b).	  	  On	  

information	  and	  belief,	  one	  or	  more	  defendants	  reside	  in	  this	  district,	  and	  the	  events	  giving	  

rise	  to	  the	  claims	  occurred	  in	  Chicago,	  Cook	  County,	  Illinois.	  

                                                                    PARTIES	  

(11)	   PLAINTIFF	  ZENON	  GRZEGORCZYK,	  at	  all	  times	  relevant	  hereto	  was	  a	  citizen	  of	  the	  

United	  States	  and	  a	  resident	  of	  Cook	  County,	  Illinois.	  	  Mr.	  Grzegorczyk	  also	  was	  a	  pre-­‐trial	  

detainee,	  housed	  at	  the	  Metropolitan	  Correctional	  Center,	  located	  in	  Chicago,	  Cook	  County,	  

Illinois.	  

(12)	   Defendant	  WARDEN	  KUTKA,	  based	  on	  information	  and	  belief,	  at	  all	  times	  relevant	  

hereto	  was	  the	  Warden	  of	  the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  

bureau	  of	  Prisons,	  an	  agency	  of	  the	  United	  States	  government.	  

(13)	   OFFICER	  SIMPSON,	  based	  on	  information	  and	  belief,	  at	  all	  times	  relevant	  hereto	  was	  

an	  employee	  of	  the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  bureau	  of	  

Prisons,	  an	  agency	  of	  the	  United	  States	  government.	  

(14)	   LIEUTENANT	  P.	  BARBER,	  based	  on	  information	  and	  belief,	  at	  all	  times	  relevant	  

hereto	  was	  an	  employee	  of	  the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  

bureau	  of	  Prisons,	  an	  agency	  of	  the	  United	  States	  government.	  




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(15)	   LIEUTENANT	  BURNING,	  based	  on	  information	  and	  belief,	  at	  all	  times	  relevant	  

hereto	  was	  an	  employee	  of	  the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  

bureau	  of	  Prisons,	  an	  agency	  of	  the	  United	  States	  government	  

(16)	   COUNSELOR	  BLISSET,	  based	  on	  information	  and	  belief,	  at	  all	  times	  relevant	  hereto	  

was	  an	  employee	  of	  the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  bureau	  of	  

Prisons,	  an	  agency	  of	  the	  United	  States	  government.	  

(17)	   OFFICER	  ART,	  based	  on	  information	  and	  belief,	  at	  all	  times	  relevant	  hereto	  was	  an	  

employee	  of	  the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  bureau	  of	  Prisons,	  

an	  agency	  of	  the	  United	  States	  government.	  

(18)	   Defendant	  CAPTAIN	  ANTONIO	  SALAS,	  at	  all	  times	  relevant	  hereto	  was	  a	  Captain	  at	  

the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  bureau	  of	  Prisons,	  an	  agency	  of	  

the	  United	  States	  government.	  

(19)	   Defendant	  MICHAEL	  REUSCH,	  at	  all	  times	  relevant	  hereto	  was	  a	  Lieutenant	  at	  the	  

Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  Bureau	  of	  Prisons,	  an	  agency	  of	  

the	  United	  States	  government.	  

(20)	   OFFICER	  OZABURA,	  based	  on	  information	  and	  belief,	  at	  all	  times	  relevant	  hereto	  

was	  an	  employee	  of	  the	  Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  bureau	  of	  

Prisons,	  an	  agency	  of	  the	  United	  States	  government	  

(21)	   Defendant	  JASON	  DANA,	  at	  all	  times	  relevant	  hereto	  was	  a	  psychologist	  at	  the	  

Chicago	  Metropolitan	  Correctional	  Center	  of	  the	  Federal	  Bureau	  of	  Prisons,	  an	  agency	  of	  

the	  United	  States	  government.	  




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(22)	   Defendant	  PAUL	  M	  LAIRD,	  	  upon	  information	  and	  belief,	  at	  all	  times	  relevant	  hereto	  

was	  the	  Regional	  Director	  for	  the	  Bureau	  of	  Prisons,	  an	  agency	  of	  the	  United	  States	  

government.	  

(23)	   UNKNOWN	  PSYCHOLOGY	  STAFF	  MEMBERS,	  based	  on	  information	  and	  belief,	  at	  all	  

times	  relevant	  hereto	  were	  employees	  working	  at	  the	  Chicago	  Metropolitan	  Correctional	  

Center	  of	  the	  Federal	  bureau	  of	  Prisons,	  an	  agency	  of	  the	  United	  States	  government	  

(24)	   UNKNOWN	  EMPLOYEES	  of	  the	  BUREAU	  OF	  PRISONS,	  based	  on	  information	  and	  

belief,	  at	  all	  times	  relevant	  hereto	  were	  employees	  of	  the	  Chicago	  Metropolitan	  

Correctional	  Center	  of	  the	  Federal	  bureau	  of	  Prisons,	  an	  agency	  of	  the	  United	  States	  

government	  

                                                             ALLEGATIONS	  

	  (25)	   On	  or	  about	  December	  17,	  2013,	  Zenon	  Grzegorczyk,	  a	  pre-­‐trial	  detainee,	  was	  placed	  

in	  administrative	  detention	  without	  being	  told	  why	  he	  was	  subjected	  to	  placement	  in	  

segregation,	  other	  than	  a	  vague	  reference	  to	  safety	  and	  security	  reasons,	  without	  specifying	  

whether	  it	  was	  for	  his	  own	  safety	  and	  security	  or	  that	  of	  others	  who	  were	  making	  

allegations	  against	  him,	  in	  violation	  of	  his	  Due	  Process	  right	  to	  notice	  of	  any	  allegations	  

against	  him,	  and	  his	  right	  to	  be	  free	  from	  punishment	  as	  a	  pre-­‐trial	  detainee.	  

	  (26)	   Placement	  in	  administrative	  detention	  deprives	  or	  limits	  an	  inmate	  in	  his	  ability	  to	  

access	  a	  telephone,	  mail,	  e-­‐mail,	  and	  in-­‐person	  contact	  visits	  with	  friends,	  family,	  and	  

attorneys.	  	  Such	  placement	  also	  deprives	  him	  of	  any	  ability	  to	  access	  fresh	  air	  and	  natural	  

sunlight,	  access	  to	  recreational	  facilities,	  religious	  services,	  and	  computer	  and	  librarian	  

assisted	  legal	  research,	  in	  violation	  of	  his	  right	  to	  be	  free	  from	  punishment	  without	  due	  

process	  and	  to	  be	  held	  in	  conditions	  that	  do	  not	  approximate	  torture.	  



	                                                                      6	  
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(27)	   Mr.	  Grzegorczyk	  was	  not	  afforded	  a	  hearing	  at	  which	  he	  could	  challenge	  the	  basis	  

for	  his	  placement	  in	  administrative	  detention,	  in	  violation	  of	  his	  right	  to	  due	  process	  and	  

his	  right	  to	  be	  free	  of	  punishment	  while	  he	  was	  a	  pre-­‐trial	  detainee.	  

(28)	   While	  in	  segregation,	  known	  and	  unknown	  defendants,	  assigned	  a	  cellmate	  to	  share	  

a	  cell	  with	  Mr.	  Grzegorczyk,	  when,	  based	  on	  information	  and	  belief,	  defendants	  knew	  or	  

should	  have	  known	  that	  (1)	  the	  inmate,	  Bobby	  Everson,	  had	  been	  sent	  to	  the	  Metropolitan	  

Correctional	  Center	  for	  a	  competency	  evaluation,	  (2)	  that	  he	  was	  being	  charged	  with	  

possession	  of	  a	  firearm	  by	  a	  felon,	  possession	  of	  a	  controlled	  substance,	  and	  possession	  of	  a	  

firearm	  in	  furtherance	  of	  a	  drug	  trafficking	  offense,	  and	  (3)	  that	  he	  had	  previously	  been	  

convicted	  of	  a	  Racketeering	  charge	  that	  included	  overt	  acts	  of	  violence	  by	  Mr.	  Everson,	  

including	  shootings,	  violent	  robberies,	  and	  a	  gang	  fight	  that	  involved	  a	  knifing	  injury	  to	  an	  

opposing	  gang	  member.	  	  The	  Defendants,	  knowing	  about	  Mr.	  Everson’s	  violent	  history	  and	  

mental	  health	  issue,	  placed	  Mr.	  Grzegorczyk	  in	  an	  unsafe	  environment,	  in	  assigning	  Mr.	  

Everson	  to	  share	  a	  cell	  with	  Mr.	  Grzegorczyk,	  in	  violation	  of	  Mr	  Grzegorczk’s	  due	  process	  

right	  to	  be	  protected	  from	  harm.	  

(29)	   Shortly	  after	  the	  placement	  of	  Mr.	  Everson	  in	  Mr.	  Grzegorczyk’s	  cell,	  Mr.	  Everson	  	  

made	  inappropriate	  sexual	  comments	  to	  Mr.	  Grzegorczyk	  while	  Mr.	  Grzegorczy	  was	  

urinating	  or	  dressing.	  

(30)	   Mr.	  Grzegorcyk	  banged	  on	  his	  cell	  door	  and	  called	  for	  help	  from	  the	  guard	  assigned	  

to	  the	  floor,	  but	  his	  calls	  went	  unheeded,	  despite	  the	  fact	  that	  Mr.	  Grzegorczyk	  could	  hear	  

that	  the	  officer	  was	  nearby	  and	  within	  hearing	  distance	  of	  his	  calls	  for	  help.	  

(31)	   Mr.	  Everson	  stripped	  naked	  and	  lunged	  for	  Mr.	  Grzegroczyk,	  grabbing	  his	  testicles	  .	  




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(32)	   Mr.	  Grzegorczyk	  called	  out	  for	  help	  repeatedly	  and	  his	  calls	  were	  not	  answered	  in	  

time	  to	  prevent	  the	  attack.	  

(33)	   At	  least	  one	  of	  Defendants	  responsible	  for	  monitoring	  the	  individuals	  placed	  in	  

administrative	  detention,	  also	  known	  as	  segregation	  or	  solitary	  confinement,	  was	  on	  the	  

floor	  within	  hearing	  distance	  of	  Mr.	  Grzegroczyk’s	  calls	  for	  help,	  but	  ignored	  those	  calls	  and	  

did	  not	  respond	  until	  Mr.	  Grzegorczyk	  and	  Mr.	  Everson	  were	  engaged	  in	  a	  physical	  struggle	  

with	  one	  another.	  	  

(34)	   Mr.	  Grzegorczyk	  fought	  Mr.	  Everson,	  to	  defend	  himself	  from	  Mr.	  Everson’s	  sexual	  

assault.	  	  	  	  

(35)	   During	  the	  struggle	  between	  Mr.	  Grzegorczyk	  and	  Mr.	  Everson,	  Defendants	  came	  to	  

the	  cell	  and	  sprayed	  both	  parties	  with	  mace,	  subdued	  and	  manhandled	  both	  parties,	  

dragging	  them	  to	  the	  showers.	  	  In	  the	  process	  of	  struggling	  with	  Mr.	  Everson	  and	  

defendants,	  Mr.	  Grzegorczyk’s	  head	  was	  banged	  against	  the	  wall,	  causing	  pain	  to	  his	  ear	  

and	  one	  side	  of	  his	  face	  and	  head.	  	  He	  also	  suffered	  pain	  to	  his	  hand	  and	  arm,	  and	  was	  

traumatized	  by	  the	  sexual	  assault	  committed	  upon	  him	  by	  Mr.	  Everson.	  

(36)	   Mr.	  Grzegorczyk	  suffered	  from	  nightmares,	  flashbacks,	  and	  high	  anxiety,	  prompting	  

him	  to	  ask	  for	  psychiatric	  care,	  which	  requests	  were	  ignored,	  in	  violation	  of	  his	  right	  to	  

access	  to	  needed	  medical	  and	  psychiatric	  or	  psychological	  care.	  	  Mr.	  Grzegorczyk	  requested	  

help	  from	  Defendants	  Simpson,	  Lieutenant	  P.	  Barber,	  Counselor	  Blisset,	  Officer	  Art,	  Captain	  

Salas,	  Lieutenant	  Reusch,	  Officer	  Czabura,	  Dr.	  Dana,	  Warden	  Kutka,	  and	  UNKNOWN	  

PSYCHOLOGICAL	  STAFF	  MEMBERS,	  none	  of	  whom	  responded	  with	  help,	  resulting	  in	  Mr.	  

Grzegroczyk	  seeking	  an	  administrative	  remedy,	  through	  filling	  out	  a	  request	  for	  informal	  

resolution	  on	  January	  17,	  2014.	  



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(37)	   Informal	  resolution	  was	  not	  possible,	  so	  Mr.	  Grzegorczyk	  began	  the	  formal	  

administrative	  remedy	  process	  by	  asking	  for	  and	  receiveing	  a	  BP-­‐9	  form	  on	  January	  22,	  

2014.	  

(38)	   Mr.	  Grzegorczyk	  was	  referred	  to	  a	  psychologist,	  Dr.	  Dana,	  who	  did	  not	  engage	  in	  

adequate	  therapy	  with	  Mr.	  Grzegorczyk,,	  nor	  did	  Dr.	  Dana	  conduct	  a	  psychological	  

evaluation	  to	  determine	  whether	  he	  was	  suffering	  from	  a	  diagnosable	  mental	  health	  

condition,	  or	  explain	  to	  Mr.	  Grzegorczyk	  a	  prescribed	  course	  of	  treatment.	  

(39)	   Defendant	  Burning	  asked	  Mr.	  Grzegorczyk	  to	  sign	  a	  report	  that	  claimed	  an	  

investigation	  had	  been	  done	  and	  that	  there	  was	  no	  evidence	  that	  he	  had	  been	  sexually	  

assaulted.	  

(40)	   Mr.	  Grzegroczyk	  refused	  to	  sign	  such	  an	  agreement,	  because	  it	  was	  untrue.	  

(41)	   Mr.	  Grzegorczyk	  was	  kept	  in	  segregation	  for	  a	  month	  after	  the	  sexual	  assault	  

occurred,	  while	  the	  offending	  inmate	  was	  released	  to	  general	  population	  where	  he	  could	  

pose	  a	  threat	  to	  other	  inmates,	  needlessly	  punishing	  Mr.	  Grzegorczyk	  	  and	  subjecting	  

others	  to	  a	  known	  risk	  of	  violence.	  

(42)	   Mr.	  Grzegorczyk	  was	  released	  from	  segregation	  on	  January	  28,	  2014,	  without	  ever	  

having	  had	  a	  hearing	  at	  which	  he	  could	  learn	  of	  the	  reason	  for	  his	  treatment,	  confront	  the	  

accuser,	  and	  defend	  against	  any	  allegations	  against	  him,	  in	  violation	  of	  his	  right	  to	  due	  

process	  and	  his	  right	  to	  be	  free	  from	  punishment	  and	  conditions	  that	  approximate	  torture,	  

as	  a	  pre-­‐trial	  detainee.	  

(43)	   Subsequently,	  Warden	  S.M.	  Kutka,	  Regional	  Officer	  Paul	  M.	  Laird,	  and	  a	  Central	  

Office	  representative,	  told	  Mr.	  Grzegorczyk	  that	  a	  plan	  had	  been	  developed	  to	  treat	  his	  

condition,	  that	  he	  had,	  in	  fact,	  been	  informed	  of	  the	  reason	  for	  his	  placement	  in	  segregation,	  



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and	  that	  he	  knew	  the	  results	  of	  the	  investigation,	  but	  chose	  not	  to	  acknowledge	  them,	  all	  of	  

which	  were	  false	  statements	  and	  violated	  Mr.	  Grzegorczyk’s	  right	  to	  Due	  Process.	  

(44)	   In	  April	  2014,	  Mr.	  Grzegorczyk	  and	  other	  inmates	  were	  asked	  to	  sign	  a	  form	  saying	  

that	  they	  had	  reviewed	  a	  video	  about	  sexual	  assault.	  

(45)	   The	  video	  was	  never	  shown	  to	  Mr.	  Grzegorczyk	  and	  the	  others.	  	  Instead,	  the	  inmates	  	  

were	  locked	  down	  and	  not	  released	  in	  time	  to	  see	  the	  video,	  as	  they	  had	  been	  told	  they	  

would	  be.	  

(46)         The	  United	  Nations	  Convention	  Against	  Torture	  and	  Other	  Cruel,	  Inhuman	  or	  

Degrading	  Treatment	  or	  Punishment	  defines	  torture	  as	  “any	  act	  by	  which	  severe	  pain	  or	  

suffering,	  whether	  physical	  or	  mental,	  is	  intentionally	  inflicted	  on	  a	  person	  .	  .	  .	  punishing	  

him	  for	  an	  act	  he	  has	  committed	  or	  is	  suspected	  of	  having	  committed,	  or	  intimidating	  or	  

coercing	  him	  .	  .	  .,	  or	  for	  any	  reason	  based	  on	  discrimination	  of	  any	  kind,	  when	  such	  pain	  or	  

suffering	  is	  inflicted	  by	  or	  at	  the	  or	  at	  the	  instigation	  of	  	  .	  .	  .	  a	  public	  official	  or	  other	  person	  

acting	  in	  an	  official	  capacity.”	  	  The	  United	  States	  of	  America	  signed	  the	  Convention,	  and	  it	  

was	  ratified	  by	  the	  United	  States	  on	  October	  21,	  1994.	  	  The	  convention	  further	  provides	  

that	  “each	  State	  Party	  shall	  take	  effective	  legislative,	  administrative,	  judicial	  or	  other	  

measures	  to	  prevent	  acts	  of	  torture	  in	  any	  territory	  under	  its	  jurisdiction.”	  	  The	  placement	  

of	  Mr.	  Grzegorczyk	  in	  segregation	  for	  a	  month	  and	  subjecting	  him	  to	  attack	  by	  placing	  him	  

in	  a	  cell	  with	  a	  person	  with	  known	  mental	  health	  issues	  and	  a	  violent	  background	  

constitutes	  a	  violation	  of	  the	  aforesaid	  Convention	  Against	  Torture,	  to	  which	  the	  United	  

States	  is	  a	  State	  Party.	  




	                                                                                10	  
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(47)	   Upon	  information	  and	  belief,	  Federal	  Bureau	  of	  Prison	  regulations	  require	  the	  

regular	  monitoring	  and	  assessment	  for	  psychological	  harm	  from	  the	  solitary	  confinement	  

of	  inmates	  who	  are	  in	  solitary	  confinement	  in	  a	  Bureau	  of	  Prisons	  facility.	  

(48)	   Upon	  information	  and	  belief,	  plaintiff	  Grzegorczyk	  was	  not	  monitored	  and	  evaluated	  

at	  all,	  much	  less	  regularly,	  for	  the	  psychological	  effects	  of	  solitary	  confinement	  after	  he	  

suffered	  a	  sexual	  assault	  by	  another	  inmate	  with	  known	  mental	  health	  issues	  and	  violent	  

background.	  	  As	  a	  direct	  and	  proximate	  cause	  of	  his	  segregation,	  the	  assault	  he	  endured	  

while	  in	  segregation,	  and	  the	  failure	  to	  adequately	  treat	  Mr.	  Grzegorczyk	  in	  the	  aftermath	  of	  

the	  assault,	  Mr.	  Grzegorczyk	  suffered	  emotional	  harm,	  suffering,	  and	  damages.	  

                                                                COUNT	  1	  

                                           Deprivation	  of	  Constitutional	  Rights	  

(49)	   Each	  of	  the	  paragraphs	  in	  this	  Complaint	  is	  incorporated	  as	  if	  restated	  fully	  herein.	  

(50)	   As	  described	  more	  fully	  above,	  the	  Defendants	  deprived	  Plaintiff	  Grzegorczyk	  of	  his	  

right	  to	  procedural	  due	  process,	  and	  failed	  to	  protect	  him	  from	  sexual	  assault,	  and	  denied	  

him	  appropriate	  psychiatric	  and	  psychological	  treatment	  in	  the	  aftermath	  of	  the	  assault.	  

(51)	   The	  misconduct	  described	  in	  this	  Count	  was	  objectively	  unreasonable	  and	  was	  

undertaken	  intentionally	  with	  willful	  indifference	  to	  Plaintiff’s	  constitutional	  rights.	  

(52)	   The	  misconduct	  described	  in	  this	  Count	  was	  undertaken	  with	  willfulness	  and	  

reckless	  indifference	  to	  the	  rights	  of	  others.	  

(53)	   As	  a	  result	  of	  the	  above-­‐described	  wrongful	  infringement	  of	  his	  rights,	  Plaintiff	  

Grzegorczyk	  has	  suffered	  pain	  and	  injury,	  as	  well	  as	  emotional	  distress.	  

                                                                COUNT	  2	  

                        State	  Law	  Claim-­‐	  Intentional	  Infliction	  of	  Emotional	  Distress	  



	                                                                     11	  
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(54)	   Each	  of	  the	  preceding	  Paragraphs	  is	  incorporated	  as	  if	  restated	  fully	  herein.	  

(55)	   The	  acts	  and	  omissions	  of	  the	  Defendants	  were	  extreme	  and	  outrageous.	  	  The	  

Defendants	  intended	  to	  cause,	  or	  were	  in	  reckless	  disregard	  of	  the	  probability	  that	  their	  

conduct	  or	  failure	  to	  act	  would	  cause	  severe	  emotional	  distress	  to	  Mr.	  Grzegorczyk.	  

(56)	   Said	  actions	  and	  failures	  to	  act	  did	  directly	  and	  proximately	  cause	  severe	  emotional	  

distress	  to	  Mr.	  Grzegorczyk	  and	  thereby	  constituted	  intentional	  infliction	  of	  emotional	  

distress.	  

(57)	   The	  misconduct	  described	  in	  this	  Count	  was	  undertaken	  with	  willfulness	  and	  

reckless	  indifference	  to	  the	  rights	  of	  others.	  

(58)	   As	  a	  result	  of	  the	  Defendants’	  actions	  and	  failures	  to	  act,	  Plaintiff	  Grzegorczyk	  

suffered	  damages,	  including	  severe	  emotional	  distress.	  

	         WHEREFORE,	  PLAINTIFF	  GRZEGORCZYK,	  through	  counsel,	  prays	  that	  this	  Court:	  

A.	       FIND	  that	  defendants	  WARDEN	  KUTKA,	  OFFICER	  SIMPSON,	  LIEUTENANT	  P.	  

BARBER,	  COUNSELOR	  BLISSET,	  OFFICER	  ART,	  CAPTAIN	  SALAS,	  LIEUTENANT	  MICHAEL	  

REUSCH,	  OFFICER	  OZABURA,	  DR.	  DANA,	  PAUL	  M.	  LAIRD,	  UNKNOWN	  PSYCHOLOGY	  STAFF	  

MEMBERS,	  AND	  OTHER	  UNKNOWN	  EMPLOYEES	  of	  the	  BUREAU	  OF	  PRISONS,	  are	  guilty	  of	  

and	  liable	  for	  the	  deprivation	  of	  Plaintiff	  GRZEGROCZYK’s	  right	  to	  procedural	  and	  

substantive	  Due	  Process	  under	  the	  Fifth	  Amendment	  to	  the	  United	  States	  Constitution;	  

B.	       ENTER	  a	  declaratory	  judgment	  that	  subjecting	  Plaintiff	  to	  segregation	  without	  

hearing	  and	  failing,	  assigning	  him	  to	  a	  cell	  with	  an	  individual	  who	  is	  known	  to	  have	  

displayed	  behavior	  that	  calls	  into	  question	  his	  competency	  to	  participate	  in	  legal	  

proceedings	  and	  who	  has	  also	  been	  found	  guilty	  of	  violent	  acts	  toward	  others,	  and	  

evidencing	  deliberate	  indifference	  to	  Mr.	  Grzegroczyk	  when	  he	  called	  for	  help,	  violated	  



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Plaintiff	  Grzegorczyk’s	  rights	  to	  procedural	  and	  substantive	  Due	  Process	  under	  the	  Fifth	  

Amendment	  to	  the	  United	  States	  Constitution	  as	  well	  as	  his	  right	  to	  be	  free	  from	  torture	  

under	  international	  law	  and	  the	  laws	  of	  the	  United	  States.	  

C.	       ENTER	  judgment	  in	  favor	  of	  Plaintiff	  GRZEGROCZYK	  and	  against	  Defendants	  

WARDEN	  KUTKA,	  OFFICER	  SIMPSON,	  LIEUTENANT	  P.	  	  BARBER,	  LIEUTENANT	  BURNING,	  

COUNSELOR	  BLISSET,	  OFFICER	  ART,	  CAPTAIN	  SALAS,	  LIEUTENANT	  ROUCHE,	  OFFICER	  

OZABURA,	  DR.	  DANA,	  PAUL	  M.	  LAIRD,	  UNKNOWN	  PSYCHOLOGY	  STAFF	  MEMBERS,	  AND	  

OTHER	  UNKNOWN	  EMPLOYEES	  of	  the	  BUREAU	  OF	  PRISONSAWARD	  plaintiff:	  

	         1.	       Compensatory	  damages	  against	  the	  defendants	  as	  shall	  be	  proven	  at	  trial;	  

           2.	       Penalties	  and	  Punitive	  damages	  against	  the	  individual	  defendants	  as	  shall	  be	  

                      proven	  at	  trial;	  

	         3.	       Plaintiff’s	  costs	  herein;	  

	         4.	       Injunctive	  relief	  preventing	  the	  Defendants	  from	  assigning	  inmates	  housed	  in	  

           	         segregation	  to	  cell	  mates	  who	  are	  in	  the	  institution	  to	  undergo	  a	  competency	  	  

	         	         examination;	  

	         5.	       Such	  further	  relief	  that	  the	  Court	  deems	  just	  and	  proper.	  

                                          JURY	  DEMAND	  
                                                    	  
	         PLAINTIFF	  GRZEGORCZYK	  demands	  trial	  by	  jury	  on	  all	  issues	  so	  triable.	  
	  
DATE:	  	          December	  15,	  2015	   	              	              Respectfully	  submitted,	  
	  
	           	      	           	        	      	           	              BY:	     s/Andréa	  E.	  Gambino	  
	           	      	           	        	      	           	              	        Attorney	  for	  Zenon	  Grzegorczyk	  
	  
Law	  Offices	  of	  Andrea	  E.	  Gambino	  
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